Case 07-19162~_Doc 67-4 Filed 0671 1/08 . Page 1 of 3

3 APP#: 31806080 MING:  1000748-0031806080-5
LN #: 91806080 :
InterestFirst* NOTE
July 32, 2006 MANASSAS Virginia
[Date} [Cyt [State] ‘
10814 CATRON ROAD /PERRY HALL. MD 21128
[Property Address]
1. BORROWER'S PROMISE TO PAY
In return for a joan that | have received, | promise to pay U.S. $612,000.00 (this amount is called “Principal"),
plus interest, to the order of the Lender. The Lender is FIRST SAVINGS MORTGAGE CORPORATION, A VIRGINIA
CORPORATION

~ | wilt make aif payments under this Note in the form of cash, check or money order. .
1 understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and whe is
entitled to receive payments under this Note is cafled the "Note Holder.”

2. INTEREST

interest will be charged on unpaid principal until the full amount of Principal has been patd, | will pay interest at a yearly
‘rate of 6.7560 %.

The interest rate required by this Section 2 is the rate } will pay both before and after any default described in Section 6(B}
of this Note. : . .

3. PAYMENTS

{A} Time and Place of Payments

| will make a payment every month. This payment will be for interest only for the first 120 months, and then wil
consist of principal and interest,

}will make my monthly paymentonthe ist day of each month beginning on September 1, 2006 . | will
make these payments every month until | have paid ell of the principal and interest and any other charges described below that |
may owe urster this Note. Each monthly payment will be applied as of its scheduled due date, and if the payment includes both
principal and interest it will be applied to interest before Principal, If, on August 1, 2036 _ , | sll-owe amounts
under this Note, | will pay those amounts in full on that date, which is called the “Maturity Date,"

t will make my monthly payments at 6444 WESTPARK DRIVE, 4TH FLOOR, MCLEAN, VA 22192

or at a different place If required by the Note Holder.

(8) Amount of Monthly Payments

My monthly payment will be in the amount of U.S. $3,442.50 for the first. 120 months of this Note,
and thereafter will be in the amount of U.S. $4,653.43 . The Note Holder will notify me prior to the date of
change in monthly payment.

4. BORROWER'S RIGHT TO PREPAY

| have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
“Prepayment.” When | make a Prepayment, | will tell the Note Holder In writing thet | am doing so. | may not designate a
payment as a Prepayment if f have not made all the monthly payments due under the Note.

| may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will use my
Prepayments to reduce the amount of Principal that | owe under this Note. However, the Note Holder. may apply my
Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the
Principal amount of the Note. If | make a partial Prepayment, there will be no changes in the due date of my monthly payment

MW GA96.02 ,
MULTISTATE Interestfirat FIXED RATE NOTE-Singie Famtly-Fannle Mae UNIFORM INSTRUMENT

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Case 07-19162_ Doc67-4 Filed 06/11/08 Page 2 of 3

unless the Note Holder agrees in writing to those changes. However, if the partial Prepayment is mace during the period when
my monthly payrnents consist only of interest, the amount of the monthly peymént will decrease for the remainder of the term
when my payments consist onty of interest as well as during the time that my payments consist of principal and Interest. if the
partial Prepayment is made during the period when my payments consist of principal and interest, the amount of my monthiy
payment will not decrease; however, the principal and the interest required under this Note will be paid prior to the Maturity
Date. .

§. LOAN CHARGES .

if a law, which applies to this foan and which sets maximum loan charges, is finally interpreted so that the interest or other
loan charges collected or ta be collected in connection with this loan exceed the permitted limits, then: (a) any such loan charge
shall be reduced by the amount necessary to reduce the charge to the permitted fimit; and (b) any surns already collected from
me which exceeded permitted mits will be refunded to me. The Note Holder may choose to make this refund by reducing ihe
Principal { awe under this Note or by making @ direct payment to me, If-9 refund reduces Principal, the reduction will be treated
as a partial Prepayment.

5, BORROWER'S FAILURE TG PAY AS REQUIRED
(A) Late Charge for Overdus Payments

If the. Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days
after the date it is due, [ will pay 4 date charge to the Note Holder. The amount of the charge will be 5.0000 % of
my overdue payment of Interest and/or principal and interest. § will pay this late charge promptly Sut only once on each fate
payment. : :

(B} Default

If | do not pay the full amount of each monthly payment on the date it is due, | will be in defautt.

(C} Notice of Default

If Lam In default, the Note Halder may send ma a written notice telling me that if | do not pay the overdue amount by @
certain date, the Note Holder may require me to pay Immediately the Full amount of Principat which has not been paid and all
the Interest that | owe on that amount, ‘That date must be at least 30 days after the date on which the notice is mailed to me or
delivered by other means.

(D} No Waiver By Note Helder ;

Even if, at a time when | am in default, the Note Holder does not require me to pay immediately in full as described
above, the Note Holder will still have the right to do so if ] am in defauit ata later time,

(E} Payment of Note Holder's Costs and Expertses .

ifthe Note Holder has required me to pay Immediately In full as described above, the Note Holder will have the right to
be paid back by me for ai! of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law, Those
expenses include, for example, reasonable attorneys” Fees, ‘

7. GIVING OF NOTICES

Unless applicable faw requires a different method, any nolice that must be given to me under this Note will be given by
detivering it or by mailing it by first class mai! to me at the Property Address above or at a different address if f give the Note
Holder a notice of my different address.

Any notice thet must be given to the Note Holder under this Note will be given by defivering It or by maiting it by first
class mell to the Note Holder at the address stated in Section 3{4} ebove or at a different address if | am given a notice of that
different address,

§. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in
this Note, including the promise to pay the full amount owed. Any person who i$ a guarantor, surety or endorser of this Note is
atso obligated to do these things. Any person who takes over these obtigations, Including the obligations of a guarantor, surety
or endorser of this Note, is atso obligated to keep all of the promises mace in this Note, The Note Holder may enforce its rights
under this Note against each person individually or against all of us together. This means that any one of us may be required to
pay all of the amounts owed under this Note,

Form 3277 1/04

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Case 07-19162 Doc6/-4_ Filed 06/11/08" Page 3 of 3

g, WAIVERS
| and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.

“Presentment” means the right to require the Note Holder to demand payment of amounts due. “Notice of Dishonor” means the
right to require the Note Holder to give notice to other persons that amounts due have not been paid.

10. UNIFORM SECURED NOTE .
This Note is a uniform instrument with iinited variations In some jurisdictions. in addition to the protections given to the
Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the *Security Instrument"), dated the same date 35
this Note, protects the Note Holder from possible losses which might result if | do not keep the promises which | make In this
Note. ‘That Security Instrument describes how and under what conditions | may be required to make immediate payment itt Full
of all amounts | owe under this Note. Some of those conditions are described as follows:
if all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
not 2 natural person and a beneficial interest in Borrower is sold or transferred} without Lender’s prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument,
However, this option shell net be exercised by Lender if such exercise is prohibited by Applicable Law.
if Lender exercises thls option, Lender shall give Borrower notice of acceleration, The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay sli sums secured by this Security Instrument. If Borrower falls to pay these
sums prior te the expiration of this period, Lender may invoke any remedies permitted by this Security
instrument without further notice or demand on Borrower. ,

WITNESS THE HAND(S) AND SEAL{S) OF THE UNDERSIGNED.

Mast Be etegcae 1) Py tas UM aia00 0

KEITH B- STEVENS MELISSIA L. STEVENS -Borrower

 

 

 

 

 

 

(Seal) Seal)
Borrower : -Borrowar
(Seal) {Seal}
-Borrower : Borrower
(Seal) (Seai}
-Borrower Borrower
{Sign Original Only}

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